                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

IAN LUCAS,                                            )
                                                      )
               Plaintiff,                             )       No. _________________
                                                      )
v.                                                    )
                                                      )
VANDERBILT UNIVERSITY, and                            )
VANDERBILT UNIVERSITY SCHOOL                          )
OF NURSING,                                           )
                                                      )
               Defendants.                            )

                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendants Vanderbilt University and

Vanderbilt University School of Nursing1 hereby file this Notice of Removal (“Notice”), removing

to the United States District Court for the Middle District of Tennessee the case brought by Plaintiff

Ian Lucas (“Plaintiff’) in the Circuit Court for the State of Tennessee, Davidson County, Civil

Action Docket Number 24C2481 (“Action”).

       In support of its Notice and grounds for removal, Defendants state as follows:

       1.      On October 6, 2024, Plaintiff filed the Action, under seal, against Defendants. A

redacted copy of the initial complaint filed in the Action (the “Complaint”) is attached hereto as

Exhibit A.2 Defendant Vanderbilt University was served with the Complaint on October 17, 2024.


1
   Vanderbilt University School of Nursing is not a distinct entity from Defendant Vanderbilt
University. Insofar as Plaintiff’s decision to name Vanderbilt University School of Nursing as a
separate Defendant requires the School of Nursing to join in this Notice of Removal, the School
of Nursing does so.
2
  The Presiding Judge of the State Court issued a preliminary determination that the Complaint be
filed under seal pending further evaluation upon assignment. To date, the Complaint remains
sealed with no further Order. As “all injunctions, orders, and other proceedings had in such action
prior to its removal shall remain in full force and effect until dissolved or modified by the district
court,” the accompanying Exhibit A, is redacted. 28 U.S.C.A. § 1450.
                                                  1

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       2.      The Complaint sets forth a claim for relief under the Americans with Disabilities

Act (“ADA”), 42 U.S.C. §§ 12101 et seq., the Family Educational Rights and Privacy Act

(“FERPA”), 20 U.S.C. § 1232g, and Section 504 of the Rehabilitation Act of 1973, 42 USCA §

504. (Ex. A, Parts VII, IX, XVI). Thus, the Court has original jurisdiction over this action pursuant

to 28 U.S.C. § 1331. 3

       3.      This Notice of Removal is filed within thirty (30) days of Vanderbilt’s receipt of

the Complaint and is therefore timely under 28 U.S.C. § 1446(b).

       4.      This Court may assert supplemental jurisdiction over the remaining claims pursuant

to 28 U.S.C. Code § 1367(a).

       5.      Venue for this removal action is proper pursuant to 28 U.S.C. § 1441, because the

United States District Court for the Middle District of Tennessee is the district embracing the place

wherein the state court action was pending.

       6.      A Notice of Filing Notice of Removal will be filed in the Circuit Court for the State

of Tennessee, Davidson County, with copies served on Plaintiff, pursuant to 28 U.S.C. §§ 1446(a)

and (d), attached hereto as Exhibit B.

       7.      In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

served on the Defendants are attached hereto as Exhibit C.4




3
  Plaintiff has contacted Vanderbilt’s counsel regarding a change of address to Post Mail Box
Address: PMB 61 Elizabethtown, NC, 28337. To the extent that Plaintiff’s change of address is
reflective of a change of domicile, Vanderbilt asserts this Court has diversity subject matter
jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1332. Vanderbilt is a citizen of Tennessee.
Upon information and belief, based on communication from the Plaintiff, the amount in
controversy exceeds $75,000. 28 U.S.C. § 1332(a).
4
  Pursuant to the preliminary determination of the Presiding Judge, five documents remain under
seal. Vanderbilt was served, and can access, only one of those documents – the Complaint. Under
28 U.S.C.A. § 1450, Vanderbilt includes a redacted copy of the Complaint in Exhibit C .
                                                 2

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       8.        All Defendants have joined in the removal of this action. 28 U.S.C. §

1446(b)(2)(A).

       9.        By filing this Notice of Removal, Defendants do not waive any defenses, including

without limitation, all the defenses specified in Fed. R. Civ. P. 12.

       WHEREFORE, Vanderbilt hereby gives notice that the above-referenced action now

pending against it in the Circuit Court for the State of Tennessee, Davidson County, has been

removed therefrom to this Court.


                                               Respectfully submitted,



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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing Notice of Removal has been
sent via e-mail to the following individuals on November 15, 2024:

Ian Lucas
PMB 61 Elizabethtown
North Carolina, 28337
ian.h.lucas@protonmail.com

Plaintiff Pro Se




                                            Matthew “JP” Horton II




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